         Case 1:21-cr-00114-TJK Document 21-1 Filed 06/08/21 Page 1 of 2




                                                         U.S. Department of Justice

                                                         CHANNING D. PHILLIPS
                                                         Acting United States Attorney

                                                         District of Columbia


                                                         Judiciary Center
                                                         555 Fourth St., N.W.
                                                         Washington, D.C. 20530


                                                      May 10, 2021

Ubong Akpan
Assistant Federal Public Defender
625 Indiana Ave. N.W, Suite 550
Washington, D.C. 20004

        Re:     United States v. Kevin Strong
                Case No. 21-cr-114-TJK

Dear Counsel:

        This is to memorialize the following initial discovery 6 sent via USAFX on May 10,
2021:


   1.   Parler Search warrant, application and affidavit, 21sc1145;
   2.   Facebook Search warrant, application and affidavit, 21sc1144;
   3.   Apple Search warrant, application and affidavit, 21sc1160;
   4.   Scoped telephone download, including Telegram app scoped conversations and images along
        with the extraction reports;
   5.   The extraction report of scoped telephone download of videos from your client’s telephone.
        The agent is figuring out a way to provide the actual videos to me;
   6.   There are screen shots of CCTV footage of your client in the Rotunda and in the hallways.
        PLEASE NOTE THIS FOOTAGE IS COVERED BY THE PROTECTIVE ORDER AND IS DESIGNATED
        HIGHLY SENSITIVE.
   7.   Serial reports 45 and 45_1A_0037_001;
   8.   Serial reports 46 and 46_1A_0037_001.

        Due to the extraordinary nature of the January 6, 2021 Capitol Attack, the government
anticipates that a large volume of materials may contain information relevant to this prosecution.
These materials may include, but are not limited to, surveillance video, statements of similarly
situated defendants, forensic searches of electronic devices and social media accounts of
similarly situated defendants, and citizen tips. The government is working to develop a system
         Case 1:21-cr-00114-TJK Document 21-1 Filed 06/08/21 Page 2 of 2




that will facilitate access to these materials. In the meantime, please let me know if there are any
categories of information that you believe are particularly relevant to your client.

       The discovery is unencrypted. Please contact me if you have any issues accessing the
information, and to confer regarding pretrial discovery as provided in Fed. R. Crim. P. 16.1.

       Additional materials are being provided since the entry of a Protective Order in this case.

         I recognize the government’s discovery obligations under Brady v. Maryland, 373 U.S.
83 (1963), its progeny, and Rule 16. I will provide timely disclosure if any such material comes
to light. Consistent with Giglio, Ruiz, and 18 U.S.C. § 3500, I will provide information about
government witnesses prior to trial and in compliance with the court’s trial management order.

        I request reciprocal discovery to the fullest extent provided by Rule 16 of the Federal
Rules of Criminal Procedure, including results or reports of any physical or mental examinations,
or scientific tests or experiments, and any expert witness summaries. I also request that
defendant(s) disclose prior statements of any witnesses defendant(s) intends to call to testify at
any hearing or trial. See Fed. R. Crim. P. 26.2; United States v. Nobles, 422 U.S. 255 (1975). I
request that such material be provided on the same basis upon which the government will
provide defendant(s) with materials relating to government witnesses.

        Additionally, pursuant to Federal Rules of Criminal Procedure 12.1, 12.2, and 12.3, I
request that defendant(s) provide the government with the appropriate written notice if
defendant(s) plans to use one of the defenses referenced in those rules. Please provide any notice
within the time period required by the Rules or allowed by the Court for the filing of any pretrial
motions.

        I will forward additional discovery as it becomes available. If you have any questions,
please feel free to contact me.



                                                      Sincerely,

                                                      /s/ Mona Lee M. Furst
                                                      Mona Lee M. Furst
                                                      Assistant United States Attorney



Enclosure(s)
cc:



                                                 2
